


  This cause came on to be heard upon the transcript of the record of the Court of Appeals of Butler county and upon the motion of the defendant in error to dismiss the petition in error filed as of right herein, the action having originated in the Court of Appeals, and was argued by counsel. On consideration whereof, it is ordered and adjudged by this court, that the motion be, and the same hereby is, sustained and the petition in error dismissed, for the reason that the record discloses no final judgment or order of the Court of Appeals at the time this proceeding in error was prosecuted to this court.
 


   Petition in error dismissed.
  


  Wbygandt, C. J., Stephenson, Williams, Jones, Matthias, Day and Zimmerman, JJ., concur.
 
